DOCUMENTS UNDER SEAL
                       Case 3:19-cr-00530-EMC Clear
                                                Document
                                                    Form 3 Filed 08/30/19 Page 1 11
                                                              TOTAL TIME (m ins):
                                                                                  of 1
M AGISTRATE JUDGE                           DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                              Stephen Ybarra                            11:09 - 11:20
MAGISTRATE JUDGE                            DATE                                     NEW CASE          CASE NUMBER
Elizabeth D. Laporte                       August 30, 2019                                            19-mj-71405-MAG
                                                       APPEARANCES
DEFENDANT                                   AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.     RET.
Joseph Albert Corey                         54       Y        P       Candis Mitchell, special             APPT.
U.S. ATTORNEY                               INTERPRETER                            FIN. AFFT             COUNSEL APPT'D
Briggs Matheson                             n/a                                    SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR               PARTIAL PAYMENT
                             Tim Elder                                APPT'D COUNSEL                 OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR               PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL                 ARRAIGNMENT              BOND HEARING            IA REV PROB. or         OTHER
                                                                                     or S/R
       DETENTION HRG                ID / REMOV HRG           CHANGE PLEA            PROB. REVOC.             ATTY APPT
                                                                                                             HEARING
                                                      INITIAL APPEARANCE
         ADVISED                ADVISED                   NAME AS CHARGED               TRUE NAME:
         OF RIGHTS              OF CHARGES                IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON              READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R              APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                             CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION            PRETRIAL                  DETAINED        RELEASED       DETENTION HEARING            REMANDED
      FOR               SERVICES                                                 AND FORMAL FINDINGS          TO CUSTODY
      DETENTION         REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
   CONSENT                      NOT GUILTY                   GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                  CHANGE OF PLEA               PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                            FILED
                                                         CONTINUANCE
TO:                                I.D. of Counsel          BOND                    STATUS RE:
9/4/19                             HEARING                  HEARING                 CONSENT                 TRIAL SET

AT:                                SUBMIT FINAN.             PRELIMINARY            CHANGE OF               STATUS
                                   AFFIDAVIT                 HEARING                PLEA
10:30 AM                                                     _____________
BEFORE HON.                        DETENTION                 ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                   HEARING                                                                  SENTENCING
JCS
         TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                PROB/SUP REV.
                                   UNDER 18 § USC            REMOVAL                CONFERENCE              HEARING
                                   3161                      HEARING
                                                  ADDITIONAL PROCEEDINGS
AUSA orally moves to unseal the entire case - Granted. Defendant indicates that he has retained counsel.


cc: JCS                                                                                   DOCUMENT NUMBER:
